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Rev. ϴ/201ϴ



                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA


JEROME CORSI


                      Plaintiff
                                                          Civil No.                  18-2885       (ESH)
                vs.

ROBERT MUELLER, ET AL.                                   Category L



                          Defendant




                                      REASSIGNMENT OF CIVIL CASE

      The above-entitled case was reassigned on      1/3/2019         from Judge Richard J. Leon

to Judge Ellen Segal Huvelle                             by direction of the Calendar Committee.



                                    (Case Not Related)


                                                                   JUDGE ELLEN S. HUVELLE
                                                                   Chair, Calendar and Case
                                                                   Management Committee


cc:            Judge Richard J. Leon

               Judge Ellen Segal Huvelle                     & Courtroom Deputy
              Liaison, Calendar and Case Management Committee
